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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 22-23684-CIV-LENARD/LOUIS

 ADISLEN PAZ DEL SOL,

       Plaintiff,

 v.

 HOMESTEAD HOSPITAL, INC. and
 BAPTIST HEALTH SOUTH
 FLORIDA, INC.,

       Defendants.
 __________________________________________/

                                  FINAL JUDGMENT

       THIS CAUSE is before the Court following the Court’s Order Granting

 Defendants’ Motion to Dismiss. Pursuant to Rule 58(a) of the Federal Rules of Civil

 Procedure, it is hereby ORDERED AND ADJUDGED that:

       1.     FINAL JUDGMENT is hereby entered in favor of Defendants Homestead

              Hospital, Inc. and Baptist Health South Florida, Inc.; and

       2.     This case is now CLOSED.

       DONE AND ORDERED in Chambers at Miami, Florida this 3rd day of

 February, 2023.


                                          ____________________________________
                                          JOAN A. LENARD
                                          UNITED STATES DISTRICT JUDGE
